                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO

Civil Action No. 1:22-cv-01129

ERIC COOMER, PhD.,

      Plaintiff

v.

MICHAEL J. LINDELL, FRANKSPEECH LLC,
AND MY PILLOW, INC.,

      Defendants


                                 EXHIBIT 17
 1               UNITED STATES DISTRICT COURT.
 2              FOR THE DISTRICT OF COLORADO
 3
 4             Civil Action No.: 1:22-cv-01129-WJM
 5   --------------------------------
     Eric Coomer, Ph.D.,
 6
 7              Plaintiff,
 8       vs.
 9   Michael J. Lindell, Frankspeech LLC, and My
     Pillow, Inc.,
10
11              Defendants.
     ----------------------------------
12
                  VIDEOTAPED DEPOSITION OF
13                        VOLUME II
                     MICHAEL J. LINDELL
14   Designated Representative of My Pillow, Inc.
                   Taken on MARCH 9, 2023
15                Commencing at 9:30 A.M.
16
17
18
19
20
21
22
23
24
25   REPORTED BY:    Mari Skalicky, RMR, CRR

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 1     VIDEOTAPED DEPOSITION of                          1              I N D E X
 2   MICHAEL J. LINDELL, taken on Thursday, March        2
 3   9th, 2023, commencing at 9:30 a.m. CDT, at 123      3   WITNESS: MICHAEL J. LINDELL                   PAGE
 4   North 3rd Street, Minneapolis, Minnesota,           4   Examination by MR. CAIN ..................375
 5   before Mari Skalicky, a Certified Realtime          5
 6   Reporter, and Notary Public of and for the          6
 7   State of Minnesota.                                 7          EXHIBITS
 8               ***********                             8   EXHIBITS INTRODUCED:                      PAGE
 9               APPEARANCES                             9   No. 76                                   377
10                                                      10
11   ON BEHALF OF THE PLAINTIFF:                        11
12    CAIN & SKARNULIS PLLC                             12
13    BY: CHARLES J. CAIN, ESQUIRE                      13   (Original exhibits attached to original
14    BY: BRADLEY A. KLOEWER, ESQUIRE                   14   transcript; copies to counsel as requested.)
15    P.O. Box 1064/101 N. F Street                     15
16    Suite 207                                         16
17    Salida, CA 81201                                  17
18    ccain@cstrial.com                                 18
19    bkloewer@cstrial.com                              19
20                                                      20
21                                                      21
22                                                      22
23                                                      23
24                                                      24
25                                                      25
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 1                                                       1           PROCEEDINGS
 2   On BEHALF OF THE DEFENDANTS:                        2         THE VIDEO OPERATOR: We are going on
 3     PARKER DANIELS KIBORT                             3      the record at 9:35 a.m. on March 9, 2023.
 4     BY: RYAN MALONE, ESQUIRE                          4      This is the video-recorded deposition of
 5     888 Colwell Building                              5      designated representative of My Pillow
 6     123 North Third Street                            6      Inc. Michael J. Lindell, Volume Two.
 7     Minneapolis, MN 55401                             7         My name is Adam Wallin from the firm
 8     malone@parkerdk.com                               8      Veritext, and I am the videographer. The
 9                                                       9      court reporter is Mari Skalicky. We are
10   ALSO PRESENT:                                      10      both with the firm Veritext. Will counsel
11    Adam Wallin, Videogrpaher                         11      please identify themselves for the record?
12                                                      12         MS. CAIN: Charley Cain and Brad
13   NOTE: The original transcript will be              13      Kloewer for the plaintiff.
14   provided to the taking party of the                14         MR. MALONE: Ryan Malone for My
15   deposition.                                        15      Pillow, Incorporated.
16                                                      16         THE VIDEO OPERATOR: Will the court
17                                                      17      reporter please swear in the witness.
18                                                      18         MR. CAIN: He's been sworn in already
19                                                      19      and still under oath but he should be
20                                                      20      sworn in again.
21                                                      21         THE WITNESS: Okay. When you just
22                                                      22      said Mike Lindell, My Pillow, isn't this
23                                                      23      Frankspeech today?
24                                                      24         MR. KLOEWER: We're just finishing
25                                                      25      up. We've got about 12 minutes left.
                                             Page 373                                                       Page 375

                                                                                           2 (Pages 372 - 375)
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 1          THE WITNESS: All right.               1             I don't need to explain myself
 2          (Whereupon, the deposition of         2          actually, and I didn't lie to you
 3      MICHAEL J. LINDELL was commenced at 3                yesterday. Explain then what you did to
 4      9:30 A.M., as follows:)                   4          find out the information you're
 5            MICHAEL J. LINDELL,                 5          providing --
 6       after having been first duly sworn,      6       A. I went to the -- my attorneys and said
 7     deposes and says under oath as follows:    7         where did this come from that you guys --
 8                 ---                            8         where did you find this search, and
 9               EXAMINATION                      9         because it didn't come from my employees
10   BY MR. CAIN:                                10         or myself, I said in there. And he said
11   Q. How are you this morning?                11         they already knew who it came from, and
12   A. Good. Thanks for worrying about me.      12         which was you, and he pulled it out and it
13   Q. When we left last night at 6:01 p.m., we 13         came from a Robert Herring. And it looks
14     were talking about the exhibit that's     14         like a Charles Herring and Robert Herring
15     Bates-numbered 730. It's Exhibit 73. And 15          was copied on it, I guess.
16     you had committed to me to --             16       Q. And you know who Charles Herring is, don't
17   A. Yeah, here it is.                        17         you?
18   Q. -- to figure out where it came from. Let 18       A. They both are with OEN news.
19     me finish, okay? All right. And now       19       Q. Right. They're the owners?
20     you've just tossed a document over here.  20       A. What?
21     What am I looking at here?                21       Q. They're the owners?
22   A. This is -- you asked me about an email   22       A. Yeah.
23     that was sent with a bunch of data on it. 23       Q. Right?
24   Q. Okay.                                    24       A. Yeah.
25   A. This is the person that sent it. It was  25       Q. Are you friends with them?
                                          Page 376                                              Page 378

 1     not a My Pillow employee or myself.            1   A. No. I know them.
 2   Q. I'm going to mark what you just handed        2   Q. You know them. Do you run ads or did you
 3     over here --                                   3     run ads on OEN?
 4          (Deposition Exhibit No. 76 was            4   A. I don't know. My ad buyers do that. I
 5      introduced.)                                  5     assume we did. We run ads on every
 6   BY MR. CAIN:                                     6     station in the country. There is no
 7   Q. -- as Exhibit 76. Is that the same one        7     exception. I would assume they're not an
 8     you're looking at?                             8     exception either.
 9   A. Yeah, apparently you guys already had it      9   Q. Describe your relationship with Charles or
10     so that was a big lie you told me, but        10     Robert Herring.
11     that's neither here nor there.                11   A. I met them when I went on their -- a show
12   Q. I didn't lie to you.                         12     there once, and I've only been on their
13   A. You already had to know who it was from.     13     show -- well, I've been, I guess a couple
14     I didn't know that.                           14     different times back with My Pillow, just
15   Q. All right. So --                             15     like I do with every other host. But I
16   A. So can you explain yourself on that?         16     met the owner. I met Robert, I don't
17     That's kind of crazy. Why would you say       17     know, couple three years ago maybe, two
18     you didn't know?                              18     years ago.
19   Q. Well, if you look, this is exhibit, or       19         And then I did a show on there when I
20     Bates 790, and the spreadsheet was Bates      20      did Absolute Proof. I was the host and I
21     to 730 so --                                  21      met him and Charles, his son.
22   A. Speak up. I can't hear you. I can't          22   Q. So I'm looking at the middle of Exhibit
23     hear. I have hearing aids. I need to          23     76, and this is dated April 8 of 2022,
24     hear you.                                     24     right?
25   Q. I recall.                                    25   A. (Nods head up and down.)
                                          Page 377                                              Page 379

                                                                                   3 (Pages 376 - 379)
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 1   Q. Is that a yes?                                    1   Q. How do I know what hat you're wearing if
 2   A. Yes.                                              2     you're using your My Pillow --
 3   Q. And it appears Robert Herring is saying to        3   A. I don't put my hats on.
 4     you in the email chain, "Let me know if            4   Q. Let me finish, sir. We've got a new court
 5     this comes through, okay," do you see              5     reporter. Her name is Mari. She's a
 6     that?                                              6     stickler for us not interrupting each
 7   A. Yeah.                                             7     other. I respect that. I think you need
 8   Q. Do you remember receiving that?                   8     to respect that today, okay, please, for
 9   A. No.                                               9     her, not for me, for her. Okay. All
10   Q. Do you remember responding?                      10     right. I'll take that as a yes.
11   A. No.                                              11         You say it wasn't sent to My Pillow
12   Q. If you look above the chain --                   12      but you agree it was sent to
13   A. No, I see I responded, but I don't               13                                right?
14     remember responding.                              14   A. Yes. It's the only email I use. I don't
15   Q. But you're not disputing that you                15     show other people what hats I wear. If I
16     responded?                                        16     have another company -- I have at least
17   A. No, no, no. It says that's me responding.        17     nine different companies, I use that for
18        (Court reporter interruption.)                 18     every one. It's my personal email.
19   A. I want to say something, though, that            19   Q. You received it at your
20     could have been an assistant responding.          20     email --
21     I do want to make that note. I don't              21   A. Correct.
22     usually use exclamation points, so my             22   Q. -- address?
23     thing, I probably didn't respond                  23         (Court reporter interruption.)
24     personally because I don't use exclamation        24   BY MR. CAIN:
25     points.                                           25   Q. So at least as of -- and we won't get
                                              Page 380                                                  Page 382

 1   BY MR. CAIN:                                       1       stuck on semantics with this one -- but at
 2   Q. But someone at My Pillow responded for          2       least as of April 8th, 2022, you were in
 3     you?                                             3       possession of the spreadsheet we discussed
 4   A. If there was an assistant with me, I said       4       yesterday, Exhibit 73, correct?
 5     just tell them it came through.                  5     A. I've never seen that spreadsheet until
 6   Q. But My Pillow is not disputing the fact         6       yesterday. I assume if this was my --
 7     that it received this information?               7       sent to my email, it was there. The
 8   A. No. My Pillow did not receive it. My            8       lawyers got it when you did your thing, so
 9     personal email received it,                      9       yes.
10                                This is where        10     Q. And it appears to me, just reading through
11     you're wrong. I use                     for     11       this, with Robert saying "Let me know if
12     every single -- every single platform I         12       this comes through, okay," that it was
13     own. I don't have separate emails. I            13       preceded by a conversation you had with
14     don't use them. I use 100 percent               14       Robert Herring about this information; is
15                          Everyone knows that in the 15       that correct?
16     whole world.                                    16     A. No. I have no idea. I would say no.
17   Q. I don't understand the distinction you're      17     Q. So your sworn testimony is you did not
18     making.                                         18       discuss this with Robert Herring prior to
19   A. Because you said My Pillow got this. My 19              it being sent to you?
20     Pillow -- this wasn't sent to My Pillow.        20     A. No. No. I have no idea what this
21     It was sent to Mike Lindell as an               21       document is. I've never seen it before in
22     individual. That's my email address, just       22       my life until yesterday. 100 percent,
23     like you might have whatever at Yahoo.com, 23            never seen it before in my life.
24     I have                          I don't go out 24      Q. Fine. And it's also your testimony,
25     and get a Gmail email, okay.                    25       though, you're not disputing that it was
                                              Page 381                                                  Page 383

                                                                                          4 (Pages 380 - 383)
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 1     transmitted and attached to Exhibit 76 by         1          So are you disputing the fact that it
 2     this email to your My Pillow email                2      was attached to this email -- let me
 3     account, correct?                                 3      finish -- as referenced in the attachment
 4   A. You said it transferred in a text. This          4      section here? I don't want us to be
 5     is an email. This is an email, not a              5      confused about how you got it and when you
 6     text, I believe. I don't know. I think            6      got it.
 7     it's an email. It looks like it's an              7          Are you disputing that you got this
 8     email.                                            8      or not?
 9   Q. Well, the record will reflect what I said,       9   A. I don't know because I don't know. I've
10     but I'll clarify it --                           10     got one thing from you and I got one thing
11   A. Okay.                                           11     from my lawyer that says this, this
12   Q. -- if I misspoke.                               12     attachment up above. I don't know if that
13   A. Okay.                                           13     connects to the attachment or whatever you
14   Q. It was sent to you in an email as an            14     showed me yesterday, which I've never seen
15     attachment from Robert Herring on April 8,       15     in my life. People send me tens of
16     2022.                                            16     thousands of emails a week. I never seen
17   A. Okay. I don't know if it came as an             17     this email in my life ever.
18     attachment because I don't see it on my          18   Q. You investigated this issue last night,
19     thing as an attachment. You showed me            19     this morning?
20     part yesterday. He showed me part today.         20   A. Yeah, I got this from -- yeah, I got this
21     I can't testify to something I don't know.       21     from my lawyer, yes.
22   Q. So what is the attachment? Can you read         22   Q. And that was after we discussed the fact
23     that into the record what it says?               23     that we were going to try to figure out
24   A. There is no attachment on this.                 24     where it came from and when you got it,
25   Q. Well, there is a reference to an                25     right?
                                             Page 384                                              Page 386

 1     attachment.                                       1   A. Right.
 2   A. It doesn't say. It says, "Let me know if         2   Q. And this is what you came in with this
 3     this comes through." There is no reference        3     morning, Exhibit 76?
 4     to an attachment. There is nothing here.          4   A. Right. I walked out of this room. My
 5     You read it. There is no attachment.              5     lawyer said you lied, you knew where it
 6   Q. Do you mind?                                     6     came from. He gave me this and I'm giving
 7   A. No.                                              7     it to you.
 8   Q. Let me help you. Right there.                    8   Q. I doubt he said I lied.
 9   A. Oh, that attachment up above. Attachment         9   A. Yes, he did say you lied.
10     Coomer email -- whatever that word is.           10          MR. MALONE: Mike, we don't have to
11   Q. Permutations.                                   11      get into that I said.
12   A. What's that?                                    12          THE WITNESS: I'm just saying. Well,
13   Q. Permutations.                                   13      he said I doubt you said he lied. You
14   A. Okay.                                           14      did. You told me you didn't know where it
15   Q. That's what it is.                              15      came from.
16   A. Okay. There is no attachment on here,           16          MR. MALONE: Just answer the
17     though. That's all I'm saying.                   17      questions, Mike.
18   Q. What does the rest of it say?                   18   A. Okay. Well, he asked me.
19   A. Election and Coomer information xls Coomer      19   BY MR. CAIN:
20     DOC 2 PDF.                                       20   Q. You apparently don't know where it came
21   Q. So yes, there is no attachment physically       21     from and you're expecting me to know.
22     to this, but yesterday when we broke, you        22     That's why I'm asking.
23     promised to get to the bottom of where           23   A. Now, you're lying again because you had
24     this information came from and how it came       24     this. You got this from us, sir. You
25     into your possession.                            25     already had this from us.
                                             Page 385                                              Page 387

                                                                                      5 (Pages 384 - 387)
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                                            800-336-4000
 1   Q. Right.                                          1      don't work for My Pillow.
 2   A. So you're lying. You knew exactly where         2   Q. Who do they work for?
 3     it came from yesterday, but you cut it off       3   A. I'm not giving that. They work for -- my
 4     the top of it. That's what you did.              4      personal assistant, Lindell Management.
 5   Q. I did not do that.                              5   Q.
 6   A. Yes, you did because you had this. Are          6   A. That's not
 7     you saying -- did you have this in your          7   Q. Well, that's information we want --
 8     possession or not?                               8   A. Good. Then subpoena it.
 9   Q. I'm not going to argue that that was            9   Q. -- because yesterday --
10     produced --                                     10   A. I'm not giving you a name. I'm not giving
11   A. Okay.                                          11      you names. I don't know if they did or
12   Q. -- by you under a different Bates stamp,       12      not. I'm not giving you names and pull
13     Lindell 790. What we looked at yesterday        13      people in that you're going to attack.
14     was My Pillow. There is a box that covers       14      You've already attacked these people
15     up another Bates stamp, so I don't know         15      enough with your lawsuit. These are
16     what that says. So I don't know what your       16      employees of mine. I'm, you know, you
17     records look like and how they're kept.         17      attack them. They're hurting. This is
18     That's why I'm asking you. And I didn't         18      what you did. So no, you're not getting
19     lie to you.                                     19      names so you can continue to attack people
20          But as far as you sit here today, the      20      ever, so...
21      best that you know is that the information     21   Q. And likewise --
22      we looked at, Exhibit 73 yesterday, was an     22           THE WITNESS: How much time does he
23      attachment that you received from Robert       23       get on this?
24      Herring, is that a fair statement?             24           MR. MALONE: Well, we're right about
25   A. I don't know. I would assume based on          25       at 12 minutes I think. Videographer, can
                                            Page 388                                               Page 390

 1     this piece of paper and what you showed me       1      we have a time check?
 2     yesterday, if that attachment here was on        2         THE WITNESS: Okay. Yep, I want a
 3     an email down here, which I don't see it,        3      time check because it was said, I think it
 4     you just showed me some papers I've never        4      was agreed to 21 minutes.
 5     seen before in my life, I have never seen        5         THE VIDEO OPERATOR: Today has been
 6     this in here. This could have been -- I          6      14 minutes.
 7     could have been in a room and it said,           7   BY MR. CAIN:
 8     tell him it came through -- you know, she        8   Q. I thought you said we would be here for 12
 9     could have says Robert -- or Robert              9     hours if that's what it takes.
10     Herring is sending you an email. This           10   A. You're only allowed so much for this
11     would be my assistant, and I would have         11     yesterday. That was put into the thing.
12     said, it says let me know if it came            12   Q. So I'll say a few things then for the
13     through, and she said, yeah, it came            13     record and we'll conclude for today.
14     through. Boom, and the email never got          14     Number 1, there has been several
15     read ever.                                      15     individuals that I've asked you for
16   Q. Who would have been your assistant in          16     information on, identification, board
17     April of 2022 that would have had the           17     members, employees, other people that
18     authority to respond to emails like this?       18     you've had conversations with that you've
19   A. I'm not going to give you that assistant's     19     refused to provide to me. Do you
20     name if I did, because once again, I don't      20     understand that?
21     want you attacking them, the media              21   A. That's correct. You will not attack them.
22     attacking them. I'm not giving you that         22     I'm protecting them.
23     name at all.                                    23   Q. I'm not going to attack anybody.
24   Q. Does she work -- he -- is it he or a she?      24   A. Yes, you do.
25   A. I'm not giving you that, and no, they          25   Q. Trying to collect information.
                                            Page 389                                               Page 391

                                                                                      6 (Pages 388 - 391)
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 1 A. That's what you do.                         1     I, MICHAEL J. LINDELL, do hereby certify
 2 Q. I had come prepared yesterday, and the      2 that I have read the foregoing transcript of
 3   record will just reflect what happened       3 my testimony and that same is true and correct
                                                  4 to the best of my knowledge and belief, except
 4   yesterday. I don't need to characterize
                                                  5 as follows:
 5   it, but I had come prepared to show you a    6
 6   series of video clips, many of which you     7 PAGE & LINE NO. CORRECTION                   REASON
 7   referenced interviews at CNN, during the     8
 8   symposium, discussions on Bannon's podcast 9
 9   referencing Eric Coomer.                    10
10        We didn't go through your discovery    11
11    responses because of how yesterday went, a 12
                                                 13
12    number of emails that I wasn't able to
                                                 14
13    show you, and I am going to be asking and 15
14    reserving the right to ask the court to    16
15    order you to be redeposed on additional    17
16    issues with additional time. And I will    18
17    be seeking costs --                        19
18 A. I'm going to seek taking you to court                     ____________________________
19   because of what you've done to my           20             MICHAEL J. LINDELL
20   employees. Everything you said comes                       SWORN TO AND
                                                 21             SUBSCRIBED BEFORE ME this
21   after you sued me; everything I said.
                                                                   day of       , 2023
22   You're an evil, evil man. There, that's     22                  NOTARY PUBLIC
23   on the record, very evil. What you've       23
24   done to my employees, everything that you 24
25   were going to say comes after you sued me; 25
                                             Page 392                                                                   Page 394
                                                         1
 1   everything I said. And I stand by what I                STATE OF MINNESOTA )
 2   said. You're an ambulance-chasing lawyer,           2          : CERTIFICATE
                                                             COUNTY OF HENNEPIN )
 3   evil person, you and your Eric Coomer               3
                                                               I hereby certify that I reported the
 4   buddy, so you will be sued. Don't worry.            4 deposition of MICHAEL J. LINDELL on
                                                           MARCH 9, 2023 in Minneapolis, Minnesota, and
 5   And you will be sued big because I won't            5 that the witness was by me first duly sworn to
                                                           tell the whole truth;
 6   back down.                                          6
 7        MR. CAIN: All right. Anything else?                  That the testimony was transcribed under
                                                         7 my direction and is a true record of witness
 8    So with that, Ryan, unless you have a                testimony;
                                                         8
 9    different take on this, I'd like to                      That the cost of the original has been
                                                         9 charged to the party who noticed the
10    conclude this deposition, which means it             deposition, and that all parties who ordered
11    will be put into a transcript and it will         10 copies have been charged at the same rate for
                                                           such copies;
12    be sent to you for your review and                11
                                                               That I am not a relative or employee or
13    signature. And then to the extent that we         12 attorney or counsel of any of the parties or a
                                                           relative or employee of such attorney or
14    want to address any other issues with the         13 counsel;
15    court, we can do that later.                      14     That I am not financially interested in
                                                           the action and have no contract with the
16 A. I'll sue you later. Don't worry.                  15 parties, attorneys, or persons with an
                                                           interest in the action that affects or has a
17        MR. MALONE: We agree to conclude.             16 substantial tendency to affect my
                                                           impartiality;
18    We'll read and sign and reserve further           17
19    questions and responses to any motions,                  That the right to read and sign the
                                                        18 deposition was reserved.
20    and let's move on.                                19     WITNESS MY HAND AND SEAL this
                                                           23RD DAY OF MARCH 2023.
21        THE VIDEO OPERATOR: We're going off           20
                                                        21
22    the record at 9:53 a.m.                           22     <%12204,Signature%>
23        (The right to read and sign the               23
                                                               Mari A. Skalicky
                                                               Registered Merit Reporter
24    deposition was preserved.)                               Certified Realtime Reporter
                                                        24
25                                                      25
                                             Page 393                                                                   Page 395

                                                                                                            7 (Pages 392 - 395)
                                       Veritext Legal Solutions
                                            800-336-4000
 1 malone@parkerdk.com
 2                March 23, 2023
 3 Coomer, Eric, Ph.D. v. Lindell, Michael J., Et Al
 4 DEPOSITION OF: Michael J. Lindell, Vol. 2 , Corp Rep
 5     The above-referenced witness transcript is
 6 available for read and sign.
 7     Within the applicable timeframe, the witness
 8 should read the testimony to verify its accuracy. If
 9 there are any changes, the witness should note those
10 on the attached Errata Sheet.
11     The witness should sign and notarize the
12 attached Errata pages and return to Veritext at
13 errata-tx@veritext.com.
14     According to applicable rules or agreements, if
15 the witness fails to do so within the time allotted,
16 a certified copy of the transcript may be used as if
17 signed.
18                  Yours,
19                  Veritext Legal Solutions
20
21
22
23
24
25
                                                 Page 396




                                                                     8 (Page 396)
                                          Veritext Legal Solutions
                                               800-336-4000
          Federal Rules of Civil Procedure

                       Rule 30



(e) Review By the Witness; Changes.

(1) Review; Statement of Changes. On request by the

deponent or a party before the deposition is

completed, the deponent must be allowed 30 days

after being notified by the officer that the

transcript or recording is available in which:

(A) to review the transcript or recording; and

(B) if there are changes in form or substance, to

sign a statement listing the changes and the

reasons for making them.

(2) Changes Indicated in the Officer's Certificate.

The officer must note in the certificate prescribed

by Rule 30(f)(1) whether a review was requested

and, if so, must attach any changes the deponent

makes during the 30-day period.




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2019.   PLEASE REFER TO THE APPLICABLE FEDERAL RULES

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              VERITEXT LEGAL SOLUTIONS
    COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

Veritext Legal Solutions represents that the
foregoing transcript is a true, correct and complete
transcript of the colloquies, questions and answers
as submitted by the court reporter. Veritext Legal
Solutions further represents that the attached
exhibits, if any, are true, correct and complete
documents as submitted by the court reporter and/or
attorneys in relation to this deposition and that
the documents were processed in accordance with
our litigation support and production standards.

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the confidentiality of client and witness information,
in accordance with the regulations promulgated under
the Health Insurance Portability and Accountability
Act (HIPAA), as amended with respect to protected
health information and the Gramm-Leach-Bliley Act, as
amended, with respect to Personally Identifiable
Information (PII). Physical transcripts and exhibits
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controls. Electronic files of documents are stored
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fashion to authenticated parties who are permitted to
access the material. Our data is hosted in a Tier 4
SSAE 16 certified facility.

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State regulations with respect to the provision of
court reporting services, and maintains its neutrality
and independence regardless of relationship or the
financial outcome of any litigation. Veritext requires
adherence to the foregoing professional and ethical
standards from all of its subcontractors in their
independent contractor agreements.

Inquiries about Veritext Legal Solutions'
confidentiality and security policies and practices
should be directed to Veritext's Client Services
Associates indicated on the cover of this document or
at www.veritext.com.
     5761276 -ER
1                    UNITED STATES DISTRICT COURT.
2                   FOR THE DISTRICT OF COLORADO
3
4                   Civil Action No.: 1:22-cv-01129-WJM
5
        Eric Coomer, Ph.D.,
6
7                   Plaintiff,
8             vs.
9       Michael J. Lindell, Frankspeech LLC, and My
        Pillow, Inc.,


                    Defendants.


12
                      VIDEOTAPED DEPOSITION OF
13                               VOLUME II
                          MICHAEL J. LINDELL
14        Designated Representative of My Pillow, Inc.
                       Taken on MARCH 9, 2023
15                     Commencing at 9:30 A.M.
16
17
18
19
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22
23
24
25      REPORTED BY: Mari Skalicky, RMR, CRR

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                           Veritext Legal Solutions
                                800-336-4000
1
     STATE OF MINNESOTA )
2                            CERTIFICATE
     COUNTY OF HENNEPIN )
3
          I hereby certify that I reported the
4    deposition of MICHAEL J. LINDELL on
     MARCH 9, 2023 in Minneapolis, Minnesota, and
5    that the witness was by me first duly sworn to
     tell the whole truth;
6
          That the testimony was transcribed under
7    my direction and is a true record of witness
     testimony;
8
          That the cost of the original has been
9    charged to the party who noticed the
     deposition, and that all parties who ordered
10   copies have been charged at the same rate for
     such copies;
11
          That I am not a relative or employee or
12   attorney or counsel of any of the parties or a
     relative or employee of such attorney or
13   counsel;
14        That I am not financially interested in
     the action and have no contract with the
15   parties, attorneys, or persons with an
     interest in the action that affects or has a
16   substantial tendency to affect my
     impartiality;
17
          That the right to read and sign the
18   deposition was reserved.
19        WITNESS MY HAND AND SEAL this
     23RD DAY OF MARCH 2023.
20
21
22
          Mari A. Skalicky
23        Registered Merit Reporter
          Certified Realtime Reporter
24
25

                                                 Page 395

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                           800-336-4000
 1          I, MICHAEL J. LINDELL, do hereby certify
 2   that I have read the foregoing transcript of
 3   my testimony and that same is true and correct
 4   to the best of my knowledge and belief, except
 5   as follows:
 6
 7   PAGE      & LINE NO.        CORRECTION              REASON
 8
 9
10
11
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14
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20                        MICHAEL J. LINDELL
                          SWORN TO AND
21                        SUBSCRIBED BEFORE ME this
                                 day of                 , 2023
22                                      NOTARY PUBLIC
23
24
25

                                                   Page 394

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